                    Case 5:18-cv-01128-AKK-HNJ Document 1 Filed 07/23/18 Page 1 of 30                                            FILED
                                                                                                                         2018 Jul-23 PM 02:53
                                                                                                                        U.S. DISTRICT COURT
                                                                                                                            N.D. OF ALABAMA


Pro Se 14 (Rev. 09/16) Complaint for Violation of Civil Rights (Prisoner)



                                       UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF ALABAMA
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                             Plaintiff                                           )           CDM PLA1 NT
{Write your full name. No more than one plaintiffmay be named in
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a complaint.)
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ADAM I-IARRtSc>tJ Dr.                )                                           )    5: 18-cv-01128-AKK-JEO
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                              Defendant(s)                                       )
(Write the ji1/I name ofeach defendant who is being sued. ff the                 )
names ofall ofthe defendants cannot fit in the space above, please               )
write "see attached" in the space and attach an additional page                  )
with the full list ofnanies. Do not include addresses here. Your                 )
complaint may be brought in this court only if one or more ofthe                 )
named defendants is located within this district.)


                              COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                                      (Prisoner Complaint)


                                                                            NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial
account number. A filing may include only: the last four digits of a social security number; the year of an
individual's birth; a minor's initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee of$400.00 or an Application to
Proceed In Forma Pauperis.

Mail the original complaint and the filing fee of $400.00 or an Application to Proceed In Forma Pauperis to the
Clerk of the United States District Court for the Northern District of Alabama, Room 140, Hugo L. Black U.S.
Courthouse, 1729 5th Avenue North, Birmingham, Alabama 35203-2195.
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I.   The Parties to this Complaint

A.   The Plaintiff

     Provide the information below for the plaintiff named in the complaint.

        Name                           'Bru(e M;+d,eJI N,d,.,lsn.-1
        All other names by which
        you have been known:
        ID Number                       7L    -.:'t 8
        Current Institution
        Address
                                                                             ALA-B/1-1•.< I\
                                                        City                        State             Zip Code


B.   The Defendant(s)

     Provide the information below for each defendant named in the complaint, whether the defendant is an
     individual, a government agency, an organization, or a corporation. Make sure that the defendant(s) listed
     below are identical to those contained in the above caption. For an individual defendant, include the
     person's job or title (if known) and check whether you are bringing this complaint against them in their
     individual capacity or official capacity, or both. Attach additional pages if needed.

     Defendant No. I

        Name
        Job or Title (if known)
        Shield Number
        Employer
        Address                        1900    13,...,.h    /},re.   -s.i;. CMib,,
                                       (.;,ILVlcYl                           ~A~k~--
                                                        City                        State             Zip Code

                                       Ill    Individual Capacity           D     Official Capacity

     Defendant No. 2

        Name
        Job or Title (if known)
        Shield Number
        Employer
        Address

                                                        City                        State             Zip Code

                                        •     Individual Capacity           D     Official Capacity

                                                        2
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      Defendant No. 3

          Name                               t::"I oyd
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          Job or Title (if known)           C""entin / wfl:R.1)£r-J
          Shield Number
          Employer                          ( YI! l)'l<ln <:;:zy11+y'.
          Address                           l'IOO ·e.ee.c_h Ave.nye S,E .
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      Defendant No. 4
                                             •    Individual Capacity
                                                                               •      Official Capacity



          Name
          Job or Title (if known)
          Shield Number
          Employer
          Address

                                                          City                            State            Zip Code

                                             D Individual Capacity             D      Official Capacity


II.     Basis for Jurisdiction

        Under 42 U.S.C. § I 983, you may sue state or local officials for the "deprivation of any rights,
        privileges, or immunities secured by the Constitution and [federal law]." Under Bivens v. Six Unknown
        Named Agents ofFederal Bureau ofNarcotics, 403 U.S. 388 (1971), you may sue federal officials for
        the violation of certain constitutional rights.

        A.    Are you bringing suit against (check all that apply):

              D Federal officials .<a Bivens claim)
              •      State or local officials (a§ 1983 claim)
        B.   Section I 983 allows claims alleging the "deprivation of any rights, privileges, or immunities,
             secured by the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section
             1983, what federal constitutional or statutory right(s) do you claim is/are being violated by state or
             local officials?
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       C.    Plaintiffs suing under Bivens may only recover for violation of certain constitutional rights. If you
             are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
             officials?




       D.    Section 1983 allows defendants to be found liable only when they have acted "under color of any
             statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of
             Columbia." 42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant
             acted under color of state or local law. If you are suing under Bivens, explain how each defendant
             acted under color of federal law. Attach additional pages if needed.




III.   Prisoner Status

       Indicate whether you are a prisoner or other confined person as follows (check all that apply):

       •     Pretrial Detainee
       D     Civilly committed detainee

       D     Immigration detainee

       D     Convicted and sentenced state prisoner

       D Convicted and sentenced federal prisoner
       D     Other
             (explain)

IV.    Statement of Claim

       State as briefly as possible the facts of your case. Describe how each defendant was personally involved
       in the alleged wrongful action, along with the dates and locations of all relevant events. You may wish to
       include further details such as the names of other persons involved in the events giving rise to your
       claims. Do not cite any cases or statutes. If more than one claim is asserted, number each claim and write
       a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

       A.    If the events giving rise to your claim arose outside an institution, describe where and when they
             arose.
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       B.    If the events giving rise to your claim arose in an institution, describe where and when they arose.
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           . .,
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NICHOLSON, BRUCE ~1962) #HF60816205

                                   Patient Record for NICHOLSON, BRUCE
                                      Created On: Februarv 05 2018
Patient:           NICHOLSON, BRUCE                 MRN:                    HF60816205
                   1525 COUNTY ROAD 38
                   Jemison, AL 35085
                   '205)857-2286
Birthdate:         **11962                          Sex:                    Male
Emergency          NICHOLSON, JAUNITA
Contact:

                   '205)857-2286




                                                                                                         ,




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NICHOLSON, BRUCE (09/30/1962) #HF60816205




03/20/2014    03/20/2014   Walker Koziol Sara   Walker Koziol Sara


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          NICHOLSON, BRUCE ~1962) #HF60816205

           Patient:     NICHOLSON,                    DOB:           '**'1962 (55)          Encounter ID:     25744040
                        BRUCE(Male)                   Race:          ,White                 Primary Ins:      Blue Cross Blue Shield
                        1525 COUNTY ROAD 38           Language:      English                                  Alabama (BCBS AL) "'
                        JEMISON AL 35085              Ethnicity:     Not Hispanic or
                        (205)857-2286"'                              Latino
                        BNICHOLSON0265@YAH
                        00.COM

           Location: Calera Family Health             Provider:      SARA R WALKER          Servicing         Walker Koziol, Sara
                     PO BOX298                                       KOZIOL, MD             Provider:
                     Florence, AL, 35631-0298
                     (205)668-0941 Ext: 7007
           DOS:         11/18/2015


          Subjective

          Chief Complaint: hypertension, hyperlipidema, Urinary frequency, Discussed CT Chest
          History of Present Illness - hypertension
             Quality
                  Reported: benign and chronic
             Severity
                  Reported: mild
             Duration
                  Reported: years
L{)
.....
0
             Context
~                 Reported: pt is well controlled and stable with no cardio complaints at the present time
co
.....
.......
          History of Present Illness • hyperlipldema
.....
.....        Quality

~
<(
                  Reported : chronic
             Severity
Cl)
_j                Reported: moderate
0            Duration
N                 Reported : years
0
~            Context
a::               Reported: pt is currently taking pravastatin 40 mg qd
LU
~         History of Present Illness - Urinary frequency
_J


~>,
             Location
                  Reported: bladder
.0
"O           Context
 Q)
 ~                Reported: denies any incontinence. had elevated WBC recently
 Q)
·5        History of Present Illness - Discussed CT Chest
 Q)
O'.'.        Context
"O                Reported: 4.2 cm suprarenal calcified mass. pt says has been there since 1998 but thinks it was 2 cm. he says he
 c
(ll               can't afford the copay of 200 to retest and wants to wait till the first of the year. says he isn't having any symptoms
"O                related to it
Q)
c
O>
en
>,
          Medication List
            Lotrel 5 mg-20 mg capsule - 1 capsule(s) by mouth daily
 co
.~
 c
             pravastatin 40 mg tablet - 1 tablet(s) by mouth at bedtime

 e           Prevnar 13 (PF) 0.5 ml intramuscular syringe - 1 syringe(s) intramuscular inject as directed
tsQ)         tramadol 50 mg tablet - 1 tablet(s) by mouth three times a day as needed (PRN); back pain

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         NICHOLSON, BRUCE ~1962}#HF60816205

             Levitra 10 mg tablet - 1 tablet(s) by mouth daily; sample
             ProAlr HFA 90 mcg/actuation aerosol inhaler - 2 puff(s} inhale every 4-6 hours around the clock as needed (PRN};
             wheezing
             Flonase 50 mcg/actuation nasal spray.suspension - 1 puff(s) In the nose every 12 hours around the clock
             Spiriva with HandiHaler 18 mcg & inhalation capsules - 1 capsule(s) inhale daily
             Ecotrin Low Strength 81 mg tablet,enteric coated - 1 tablet(s) by mouth daily


         Allergies
             Bactrim (Itching}
             Chantix
             Sulfa (Sulfonamides) (Itching)


         Social Hx
            Tobacco: Cigarettes (Current every day smoker)
            Alcohol: Wine (Occasional}


         Medical Hx
         Positive History
            The patient reports a history of Emphysema, Hypertension, calcified mass right upper quadrant attached to spine
            since 1998 CT chest 4.2 cm suprarenal mass benign in appearance and posterior to adrenal gland.


         Surgical Hx
lt)
..-      Positive History
0           The patient reports a history of Cholecystectomy, Lamlnectomy 2006.
~
co
..-
--
......
..-      Family Hx
            Father: (Alive) reports CAD.
~
<(
           Mother: (Alive) reports CHF, Diabetes.
Cf)        Sister: (Alive) reports Alcoholism .
....J      Sister: (Alive)
0          Brother: (Alive)
N
0
~
a:::     Review of Systems
w        Constitutional
~
....J       Reported: pt Is fasting Fatigue.
~>,
            Denied: Chills. Decline In Health. Fever. Weakness. Weight gain. Weight Loss. Insomnia.
.0
         Cardiovascular
"O
 (])
            Denied: Chest Pain. Palpitations. High Blood Pressure. Recent Electrocardiogram. Short of Breath - Lying Flat.
            Swelling of Legs. Short of Breath - Exertion . Leg Pain - Walking. Heart Tests (Not EKG). Extremity(s) Discolored.
 ~
·5
            Ulcers on Legs. Short of Breath - Sleeping.
 (])     Gastrointestinal
0:::        Denied: Abdominal Pain. Heartburn. Rectal Bleeding. Black Tarry Stools. Constipation. Diarrhea. Decreased
"O
 c          Appetite. Rectal Pain. Vomiting Blood. Vomiting. Nausea.
 co
"O       Psychiatric
 Q)
 c          Denied: Depression.
 O>
i:i5     Genitourinary
 >,         Urinary
co             Reported: Frequency .
•5:2
 c
e              Denied: Incontinence.
u
Q)
w                      Calera Family Health I PO BOX 298, Florence, AL 35631-0298 I Phone (205)668-0941 Ext 7007
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NICHOLSON, BRUCE ~1962) #HF60816205



Objective

Vital Signs
   Blood Pressure
       130no (Left Brachia!, Sitting, Standard, Normal)
   Pulse
       72 (Left Radial, REGULAR rythm, Normal quality, Normal)
   Respirations
       16 (Normal quality, NORMAL rythm, Normal)
   Temperature
       97.2 F (Right Tympanic Membrane, Normal)
   Weight
       1601b
   Height
       5' 5.5"
   BMI Flag
       Overweight ( 26.2)
LABS - URINE: Urine Dipstick
Question                                                                               Comments
 Leukocytes                     0
 Nitrite                        0
 Uroblinogen                    0.2(3.5)
 Protein                        0
 pH                             6.0
 Blood                          0
 Specific Gravity               1.015
 Ketone                         0
 Bilirubin                      0
 Glucose                        0


Physical Exam
Constitutional
   The patient is awake, alert, well developed, well groomed and well nourished.
Respiratory
   Auscultation
       Adventitious Sounds: There are no crackles, wheezes, rhonchi, strider or pleural rubs .
Cardiovascular
   Heart Auscultation
       The rate is normal, the rhythm is regular, 81 and 82 are normal, there are no murmurs, no gallops, and there are
       no rubs.
   Edema/ PVD
      Edema
           There is no pitting edema of the lower extremities.
Gastrointestinal
   General
       Abdomen: The abdomen is soft and non tender.
Musculoskeletal
          Calera Family Health I PO BOX 298, Florence, AL 35631-0298 I Phone (205)668-0941 Ext 7007
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                    Case 5:18-cv-01128-AKK-HNJ Document 1 Filed 07/23/18 Page 15 of "b  . •'-:if,,
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        NICHOLSON, BRUCE (Dl.,1962) #HF60816205

            Galt Posture
               The gait is normal the patient can walk several steps, then turn , and come back; balance is easy, the arms swing
               at the sides, and turns are accomplished smoothly.


        Assessment

        Diagnosis
           R350 Frequency of micturition, ( Type: Acute )
           110 Essential (primary) hypertension, ( Type: Chronic)
           R1901 Right upper quadrant abdominal swelling, mass and lump, ( Type: Chronic)


        Plan

        Procedures
           99214 Office/outpatient Visit Est (1 UN)
           G8427 Docrev Cur Meds By Elig Clin (1 UN)
           81003 Urinalysis Auto W/o Scope (1 UN)


        Orders
         Ordering Provider       WALKER KOZIOL, S      Order Date 11/18/2015 16:42   Result Status Order Complete    Result Date 11/23/2015
         Facility

 l{)     Order               . Test Name                               In Range       Out Range     Result Comment
T""
O        CULTURE, URINE, ROUTINE
~                           CULTURE, URINE, ROUTINE


        Ordering Provider       WALKER KOZIOL, S       Order Date 11/18/2015 15:57   Result Status Created           Result Date
        Facility                Calera Family Heallh
~
<(      Order                Test Name                                 In Range       Out Range     Result Comment
Cf)
        81003 Urinalysis Auto W/o Scope
_j
                              81003 Urinalysis Auto W/o Scope
0
N
0
~
Cl:'.   Follow-Up
UJ         keep f/u appt
~
_J



~>,
        Problem List
.0         Chronic Obstructive Lung Disease (disorder) (Onset: 03/20/2014 - Active, Type: Acute)
"'O        Precordial Pain (finding) (Onset: 03/20/2014 - Active, Type: Acute)
 Q)
 3:
 Q)
           Degeneration Of lntervertebral Disc (disorder) (Onset: 03/20/2014 - Active, Type: Acute)
'>
 Q)
           Sciatica (disorder) (Onset: 03/20/2014 - Active, Type: Chronic)
Cl:'.      Injury Of Ulnar Nerve (disorder) {Onset: 03/20/2014 - Active, Type: Chronic)
"'O        Benign Essential Hypertension (disorder) (Onset: 03/20/2014 - Active, Type: Chronic)
 c
 (IJ       Long-Term Drug Therapy (procedure) (Onset: 03/20/2014 - Active, Type: Chronic)
"'O
 Q)        Gastroesophageal Reflux Disease (disorder) (Onset: 03/20/2014 -Active, Type: Acute)
c
-~         Benign Neoplasm Of Heart (disorder) (Onset: 04/17/2014 -Active, Type: Acute)
(f)
           Screening For Malignant Neoplasm Of Prostate (procedure) (Onset: 04/17/2014 -Active, Type: Acute)
 >,
 ro        Gastroesophageal Reflux Disease (disorder) (Onset: 04/17/2014 -Active, Type: Acute)
.!::?      Spasm (finding) (Onset: 04/17/2014 -Active, Type: Acute)
 c
 0
 ,._       Mixed Hyperlipidemia (disorder) (Onset: 05/13/2014 -Active, Type: Acute)
t5         Mixed Hyperlipidemia (disorder) (Onset: 08/04/2014 -Active, Type: Acute)
 Q.l
[jJ
                     Calera Family Health I PO BOX 298, Florence, AL 35631-0298 I Phone (205)668-0941 Ext 7007
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        NICHOLSON, BRUCE (09/30/1962) #HF60816205

         Patient:     NICHOLSON,                   DOB:           09/30/1962 (55)     Encounter ID:   25274065
                      BRUCE(Male)                  Race:          ,White              Primary Ins:    Blue Cross Blue Shield
                      1525 COUNTY ROAD 38          Language:      English                             Alabama (BCBS AL) *
                      JEMISON AL 35085             Ethnicity:     Not Hispanic or
                      (205)857-2286*                              Latino
                      BNICHOLSON0265@YAH
                      00.COM

         Location: Calera Family Health            Provider:     · SARA R WALKER      Servicing       Walker Koziol, Sara
                   PO BOX 298                                      KOZIOL, MD         Provider:
                   Florence, AL, 35631-0298
                   {205)668-0941 Ext: 7007
         DOS:      11/04/2015


        Subjective

        Chief Complaint: pain, hypertension, Copd
        History of Present Illness • pain
           Location
               Reported:upper andlowerback
           Quality
               Reported: chronic
           Severity
               Reported: mild to moderate
           Duration
               Reported: years
           Context
               Reported: pt states his pain level today is a 2

~       History of Present Illness - hypertension
<t:
Cf)
           Quality
_j             Reported: benign and chronic
0          Severity
N             Reported: mild to moderate
0
~          Duration
0::::         Reported: years
w
~          Context
...J

~>,
              Reported: pt is stable and well controlled at the present time
        History of Present Illness - Copd
.0
"O         Context

 i
'>
 Q)
              Reported: doing well with inhalers. hasn't been able to quit smoking.
                                                                                        ·,

0:::    Medication List
'O        Lotrel 5 mg-20 mg capsule - 1 capsule(s) by mouth daily
c
 ro       pravastatin 40 mg tablet - 1 tablet(s) by mouth at bedtime
'O
 Q)       Prevnar 13 (PF} 0.5 ml intramuscular syringe - 1 syringe(s) intramuscular inject as directed
c
0)        tramadol 50 mg tablet - 1 tablet(s) by mouth three times a day as needed (PRN); back pain
i:i5      Levltra 10 mg tablet - 1 tablet(s) by mouth daily; sample
.?;,
          ProAir HFA 90 mcg/actuation aerosol inhaler- 2 puff(s) inhale every 4-6 hours around the clock as needed (PRN);
~         wheezing
c         Flonase 50 mcg/actuation nasal spray.suspension -1 puff(s) in the nose every 12 hours around the clock
e
t5        Spiriva with HandiHaler 18 mcg & inhalation capsules - 1 capsule(s} inhale daily
 (!)
w                     Calera Family Health I PO BOX 298, Florence, AL 35631-0298 I Phone (205)668-0941 Ext 7007
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       NICHOLSON, BRUCE ()(tlt)®1962) #HF60816205

          Tobacco Dependence Syndrome (disorder) (Onset: 09/15/2014 -Active, Type: Chronic)
          Simple Chronic Bronchitis (disorder) (Onset: 06/24/2015 - Active, Type: Acute)
          Malaise And Fatigue (finding) (Onset: 06/24/2015 - Active, Type: Acute)
          Impotence Of Organic Origin (disorder) (Onset: 06/24/2015 -Active, Type: Acute)
          Chronic Obstructive Bronchitis (disorder) (Onset: 07/30/2015 - Active, Type: Acute)
          History Of -Asbestos Exposure (situation) (Onset: 07/30/2015 - Active, Type: Acute)
          Chronic Kidney Disease Stage 2 Due To Hypertension (disorder) (Onset: 11/04/2015 -Active, Type: Chronic)
          Chronic Kidney Disease Stage 2 (disorder) (Onset: 11 /04/2015 - Active, Type: Chronic)




       Rendering Provider Signature




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       C.     What date and approximate time did the events giving rise to your claim(s) occur?
             Coo:'i'."">·h1.t1+l'( C::rom ~l'l;-f,d ~n+o.l<f (.(.-+" l'orr-c,:.-i·r'enn I <'.-en-n-, un-kll
             f¥<-!>e,1±ly, aod aH d,,-+ ... !> <And "tiM~s ;n b'<.-l-<...,•«r,
       D.     What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
              Was anyone else involved? Who else saw what happened?)
             ..                ..    I.          ~                              "'                                              _,,

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             CA.rt:., 1   dtpt,_;~"""" ~"'f a.de9~<1..+-c    11\.~;(.,t\.'&'.- ~•    do.;-.,,~4> 1 dt!i:h.c.-'D-.+-e   t'r)J.~~rQ.I\(~    -ki _"\~eJ"S .
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V.    Injuries

      If you sustained injuries related to the events alleged above, describe your injuries in detail.
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       c; ndd:1e,,., of C'on~rne,,..,,.n-f:: 1 <lt:o•o I of (J•op,u: ll'l'E'dtCll.l ea ..-c:; 1 1Anjy,,.J-.
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VI.   Relief

      State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or
      statutes. If requesting money damages, include the amounts of any actual damages and/or punitive
      damages claimed for the acts alleged. Explain the basis for these claims.

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VII.   Exhaustion of Administrative Remedies Administrative Procedures

       The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997(a), requires that "[n)o action shall be
       brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a
       prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as
       are available are exhausted."

       Administrative remedies are also known as grievance procedures. Your case may be dismissed if you
       have not exhausted your administrative remedies.

       A.    Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

             •    Yes

             D    No
             If yes, name the jail, prison, or other correctional facility where you were confined at the time of
             the events giving rise to your claim( s).
             Cul/,r,4-n f:c ... ,, +,11)~,+e.n+•on C.U,+er C.uun1r\n .f\Lr\13rhz.trl

       B.    Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
             procedure?

             •    Yes

             D    No

             D    Do not know


       C.    Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s)
             arose cover some or all of your claims?

             •    Yes

             D    No

             D Donotknow

             If yes, which claim(s)?

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             of ·J?eS\e.n-ef"ll.+·, v-c. 'Di·~~ 'i:.::>; ~~eu.5 e i I'll.\ Id ';,u:. \lo -~1 S ct11J 0....




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D.     Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
       concerning the facts relating to this complaint?

       •     Yes

       D     No

      Ifno, did you file a grievance about the events described in this complaint at any other jail, prison,
      or other correctional facility?

       D Yes
       D     No


E.    If you did file a grievance:

       1.   Where did you file the grievance?

            On .U.e Pro,·,d ...d K:<:?.~k 'Df-fe/\d~.          c.:~,l'1"'4/\   :«.+•4(\' a.rei;c.,,,-h,,,,
      2.    What did you claim in your grievance?

            C.hrcl\:'-   p,,;I\,   ;n ef.f-ec+•v<: ·-h--erJ.+M°'J., ;"'-t"·''l"r p..t,n fl'.\"-"""'J<i!l".;!n-4--
      3.    What was the result, if any?

              one.
      4.    What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
            not, explain why not. (Describe all efforts to appeal to the highest level ofthe grievance
            process.)


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                  Case 5:18-cv-01128-AKK-HNJ Document 1 Filed 07/23/18 Page 22 of 30




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                          Case 5:18-cv-01128-AKK-HNJ Document 1 Filed 07/23/18 Page 23 of 30



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                      Case 5:18-cv-01128-AKK-HNJ Document 1 Filed 07/23/18 Page 24 of 30



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        F.    If you did not file a grievance:

              I.    If there are any reasons why you did not file a grievance, state them here:



              2.    If you did not file a grievance but you did inform officials of your claim, state who you
                    informed, when and how, and their response, if any:




        G.    Please set forth any additional information that is relevant to the exhaustion of your administrative
              remedies.



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              (Note: You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
              administrative remedies.)

VIII.   Previous Lawsuits

        The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without
        paying the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained
        in any facility, brought an action or appeal in a court of the United States that was dismissed on the
        grounds that it is frivolous, malicious, or fails to state a claim upon which relief may be granted, unless
        the prisoner is under imminent danger of serious physical injury." 28 U.S.C. § 1915(g).

        To the best of your knowledge, have you had any cases dismissed based on grounds that it was frivolous,
        malicious, or failed to state a claim upon which relief may be granted?
        D     Yes

        •     No

        If yes, state which court dismissed your case(s), when this occurred, and attach a copy of the order(s) if
        possible.




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A.     Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
       action?

       D Yes
       •    No


B.    If your answer to A is yes, describe each lawsuit by answering questions I through 7 below. (If
      there is more than one lawsuit, describe the additional lawsuits on another page, using the same
      format.)

      I.   Parties to the previous lawsuit

           Plaintiff(s)

           Defendant(s)

      2.   Court (iffederal court, name the district; ifstate court, name the county and State)




      3.   Docket or index number




      4.   Name of Judge assigned to your case




      5.   Approximate date of filing lawsuit



      6.   Is the case still pending?

           D     Yes

           D     No

      If no, give the approximate date of disposition.

      7.   What was the result of the case? (For example: Was the case dismissed? Was judgment
           entered in your favor? Was the case appealed?




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IX.   Certification and Closing

      Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy knowledge,
      information, and belief that this complaint: (I) is not being presented for an improper purpose, such as
      to harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by
      existing law or by a nonfrivolous argument for extending, modifying, or reversing existing law; (3) the
      factual contentions have evidentiary support or, if specifically so identified, will likely have evidentiary
      support after a reasonable opportunity for further investigation or discovery; and (4) the complaint
      otherwise complies with the requirements of Rule 11.

      I agree to provide the Clerk's Office with any changes to my address where case-related papers
      may be served. I nnderstand that my failnre to keep a cnrrent address on file with the Clerk's
      Office may resnlt in the dismissal of my case.



       Printed Name of Plaintiff
       Prison Identification #
       Prison Address
                                             C:.u llmcU\                     I\Lite~Mfl           .36055"
                                                           City                   State             Zip Code




       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on      Ju'-( 17 1 2.oi "lf
                                 (Date)


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                        Signature of Plaintiff




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